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              EXHIBIT GG
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                                                           U.S. Department of Justice

                                                           Andrew E. Lelling
                                                           United States Attorney
                                                           District of Massachusetts
Main Reception: (617) 748-3100                             John Joseph Moakley United States Courthouse
                                                           1 Courthouse Way
                                                           Suite 9200
                                                           Boston, Massachusetts 02210

                                                           March 13, 2020


SENT VIA E-MAIL AND FEDERAL EXPRESS
Counsel of Record

          Re:       United States v. David Sidoo, et al.
                    Case No. 19-cr-10080-NMG 1

Dear Counsel:

       Enclosed please find the following discovery materials, produced pursuant to the agreed-
upon protective order:

          1. A DVD containing a SecureZIP file titled VB-DISCOVERY016.zip. The password to
             access the zip file is                  Instructions regarding how to extract the contents
             of the zip file are contained on the DVD and are also set forth in our prior production
             letters. Also enclosed with this letter is an index listing the records contained in the zip
             file, which are Bates-stamped VB-RECORDS-00501313 – VB-RECORDS-00706147.
             These records are primarily e-mails obtained recently from Defendant Mikaela
             Sanford.

          2. One thumb drive containing the following records: 2

                    •    Pen register data for Singer’s phones with phone numbers ending in 0584, 8802,
                         and 5816. Additional information regarding these phones is set forth below;

                    •    Proffer agreements with Singer and others;




          1
        The government will provide the defendants in United States v. Ernst, et al., No. 19-cr-
10081- IT, with the same discovery as that being provided here.
          2
        Some of the records contained on this thumb drive have not yet been Bates-stamped. The
government will soon Bates-stamp these documents, create indexes, and send replacement
discovery.
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                  •   Title III and consensual recordings not previously produced, including a
                      recorded call between Singer and government agents;

                  •   Text messages from Mikaela Sanford’s phone;

                  •   Consent to search forms signed by Singer;

                  •   Reports regarding agents’ contacts with Singer during the investigation;

                  •   The contents of Singer’s Google Drive accounts;

                  •   Handwritten notes created by Singer during the investigation, including written
                      “scripts” that Singer used during calls with defendants and others; 3

                  •   Records related to expense reimbursement requests made by Singer during the
                      investigation;

                  •   Text message screenshots sent from Singer to agents during the investigation;

                  •   A video and related documentation concerning Morrie Tobin and Rudy
                      Meredith;

                  •   FBI and IRS interview reports and associated agent notes; 4

                  •   Ping data for Singer’s phone with phone number ending in 8802;

                  •   QuickBooks files for The Key Worldwide Foundation and The Key. Please note
                      that these files are being produced in native format and require QuickBooks
                      2019; 5 and,

                  •    An image of Singer’s flip phone with phone number ending in 5816.

         3. A second thumb drive containing a native image of Singer’s laptop, which was seized
            on or about November 23, 2018. The government is currently copying this laptop, and




         3
             Investigators are working with Singer to determine whether he has any other handwritten
notes.
         4
         Any missing agent notes will be supplemented in later productions as the notes are
obtained from the agents.
         5
        The government was only recently able to access the QuickBooks files provided with this
discovery.
                                                   2
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        The government recognizes its ongoing discovery obligations and will continue to produce
additional discovery as required. If you have any questions regarding the materials enclosed, or
those that are forthcoming, please contact us at your earliest convenience. Finally, if you intend
to attach agent reports to filings, please redact all personal identifiers on the reports.


                                                    Sincerely,
                                                    ANDREW E. LELLING
                                                    United States Attorney

                                             By:    /s/ Eric S. Rosen
                                                    Eric S. Rosen
                                                    Justin D. O’Connell
                                                    Kristen A. Kearney
                                                    Leslie A. Wright
                                                    Karin M. Bell
                                                    Stephen E. Frank
                                                    Assistant U.S. Attorneys




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